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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 15-1323V
                                    Filed: May 18, 2017

************************************                 Special Master Sanders
DANA RIDDLE,                         *
                                     *               Joint Stipulation on Damages; Tetanus-
                  Petitioner,        *               Diphtheria-acellular-Pertussis (“Tdap”)
                                     *               Vaccine; Myalgia; Arthralgia.
 v.                                  *
                                     *
SECRETARY OF HEALTH                  *
AND HUMAN SERVICES,                  *
                                     *
                  Respondent.        *
                                     *
************************************

Michael G. McLaren, Black McLaren, et al., PC, Memphis, TN, for Petitioner.
Claudia B. Gangi, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On November 4, 2015, Dana Riddle (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34
(2012). Petitioner alleged that as a result of a Tetanus-Diphtheria-acellular-Pertussis (“Tdap”)
vaccine administered on December 23, 2014, she suffered from myalgia, arthralgia, and/or other
injuries. See Stipulation for Award at ¶¶ 1-4, filed May 18, 2017.



1 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
                                                 1
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        On May 18, 2017, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. ECF No. 36. Respondent denies that the Tdap
vaccine caused Petitioner’s myalgia, arthralgia, and/or other injuries, and denies that Petitioner’s
current disabilities are the result of a vaccine-related injury. Id. at ¶ 6. Nevertheless, the parties
agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

                  A lump sum of $75,000.00 in the form of a check payable to petitioner. This
                  amount represents compensation for all damages that would be available
                  under 42 U.S.C. § 300aa-15(a).

Id. at ¶ 8.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                               s/Herbrina D. Sanders
                                               Herbrina D. Sanders
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                               2
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